AO 199A (Rev. 12/11) Order Settin nditions of Release

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE

 

AT CHATTANOOGA
UNITED STATES OF AMERICA )
) Case No. 1:22-mj-0310-SKL
V. ) Southern District of New York
) Charging Dist. No. 22-CRIM-0684
BEVELYN BEATTY WILLIAMS )

ORDER SETTING CONDITIONS OF RELEASE
IT IS ORDERED that the defendant’s release is subject to these conditions:
(1) The defendant must not violate federal, state or local law while on release.
(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 § U.S.C. 14135a.

(3) The defendant must advise the court or the pretrial services office or the supervising officer in writing
before making any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to
serve a sentence that the court may impose. The defendant must next appear on January 4, 2023.
at 9:00 a.m. on Wednesday, January 4, 2023, to Pretrial Officers at the Daniel Patrick
Moynihan, United States Courthouse, 500 Pearl St.. New York, NY 10007-1312. Defendants
shall then appear before the Duty Magistrate Judge for appointment of counsel, presentment
and arraignment. Defendants shall then also appear at 3:00 p.m. before District Judge
Jennifer L. Rochon in courtroom 20B, Daniel Patrick Moynihan, United States Courthouse,
500 Pearl St., New York, NY 10007-1312 for a pretrial conference.

(5) The defendant must sign an Appearance Bond, if ordered.
Release on Personal Recognizance or Unsecured Bond

IT IS FURTHER ORDERED that the defendant shall be released on the condition that:

(X ) (6) The defendant promises to appear in court as required and surrender to serve any sentence imposed.

(X) (6a) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of Thirty
thousand dollars ($30,000.00) in the event of a failure to appear as required or surrender to serve any sentence
imposed. :

Case 1:22-mj-00310-SKL Document9 Filed 12/16/22 Pagelof4 PagelD #: 20
Page 1 of 4
AO 199A (Rev. 12/11) Order Setting Conditions of Release

 

Additional Conditions of Release

IT IS FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:

 

 

() (7) The defendant is placed in the custody of:
Person or organization:
Address:
(Only ifabove is an organization)
City and State ; Tel. No.

 

who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian’s custody.

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Signed:

 

Custodian Date
The defendant must:
(a) report to United States Probation Officer Kimberly Williams at 423-386-2754 after the
defendant’s release.
(b) execute a bond or an agreement to forfeit upon failing to appear as required, the following
sum of money or designated property: $30,000 Unsecured Bond
(c) post with the court the following proof of ownership of the designated property, or the
following amount or percentage of the above-described sum °

 

 

(d) execute a bail bond with solvent sureties in the amount of $

(e) maintain or actively seek employment, as approved by the pretrial officer.

(f) maintain or commence an education program.

(g) surrender any passport to: the U.S. Probation Officer

(h) not obtain a passport or other international travel document.

(i) abide by the following restrictions on personal associations, place of abode, or travel:___.

(j) avoid all contact, directly or indirectly, with any persons who are or may become a
victim or potential witness in the subject investigation or prosecution, including but
not limited to: _.

(k) undergo psychiatric treatment as determined by the United States Probation Officer.

(1) return to custody each (week) day at o’clock after being released each (week) day
at o’clock for employment, schooling, or the following purpose(s):

(m) maintain residence at a halfway house or community corrections center, as the supervising
officers considers necessary.

(n) refrain from possessing a firearm, destructive device, or other dangerous weapon.

(o) refrain from (LJ) ANY (LJ) excessive use of alcohol.

(p) not use or unlawfully possess a narcotic drug or other controlled substances defined in
21 U.S.C. § 802, unless prescribed by a licensed medical practitioner.

(q) submit to any method of testing required by the United States Probation Officer or the
supervising officer to determine whether the defendant is using a prohibited substance.
Any testing may be used with random frequency and include urine testing, the wearing of a
sweat patch, a remote alcohol testing system, and/or any form of prohibited substance
screening or testing. The defendant must refrain from obstructing or attempting to obstruct
or tamper, in any fashion, with the efficiency and accuracy of any prohibited substance
testing or monitoring which is (are) required as a condition of release.

(r) participate in a program of inpatient or outpatient substance abuse therapy and counseling
if deemed advisable by the United States Probation Officer.
(s) participate in one of the following location monitoring program components and abide by

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Page 2 of 4
AO 199A (Rev. 12/11) Order Setting Conditions of Release

   

(CC) (i) Curfew. You are restricted to your residence every day (LJ) from

to , or (LJ) as directed by the pretrial services officer or supervising

officer instructs; or

(C1) (Gi) Home Detention. You are restricted to your residence at all times except for
employment; education; religious services; medical, substance abuse, or
mental health treatment; attorney visits; court appearances; court-ordered
obligations; or other activities as pre- approved by the pretrial services officer
or supervising officer; or

(C)) (ii) Home Incarceration. You are restricted to 24-hour-a-day lock-down except for
medical necessities and court appearances or other activities specifically approved
by the court.

(C1) = (t) submit to the location monitoring indicated below and abide by all the program
requirements and instructions provided by the pretrial services officer or supervising
officer related to the proper operation of the technology.

(C1) The defendant must pay all or part of the cost of the program based upon your ability to

pay as the pretrial services office or supervising officer determines.

(1) (Location monitoring technology as directed by the pretrial services
office or supervising officer;

(C1) (II) Radio Frequency (RF) monitoring;

(LJ) (IID) Passive Global Positioning Satellite (GPS) monitoring (including “hybrid”
(Active/Passive) GPS);

(L]) (IV) Active Global Positioning Satellite (GPS) monitoring (including “hybrid”
(Active/Passive) GPS);

(LJ) (V) Voice Recognition Monitoring.

(C1) ~~‘ (u) report as soon as possible to the United States Probation Officer if any contact with any
law enforcement personnel including but not limited to any arrest, questioning, or traffic
stop.

(CJ) — (v) submit his/her person, residence, office, vehicle, or any area over which s/he exercises
control to a search, conducted by a U.S. Probation Officer and/or law enforcement officer
at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
contraband or evidence of a violation of a condition of pretrial release.

(C1) — (w) avoid unsupervised contact with minors under the age of eighteen (18) unless supervised
by a parent or guardian.

(C1) (x) have no Internet access by any device.

(CJ) = ‘(y) The defendant shall not enter into any agreement to act as an informer or a special
agent of a law enforcement agency without the permission of the District Court.

(C)) (@) The defendant shall answer truthfully all inquiries by the probation officer and follow
the instructions of the probation officer.

(LJ) (aa) The defendant shall not prescribe any controlled substances.

(C1) (bb) The defendant shall not practice any form of medicine. Employment in the medical
field is prohibited.

(LJ) (cc) The defendant shall provide the probation officer with access to any requested
financial information.

(C1) (dd) The defendant shall not incur new credit charges on existing accounts or apply for
additional lines of credit without permission of the probation officer. In addition, the
defendant shall ‘not enter into any contractual agreements which obligate funds without
the permission of the probation officer.

(C1) (ee) The defendant shall be released from custody the morning of December 19, 2022. She

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age 3 of 4

 
AO 199A (Rev. 12/11) Order Setting Conditions of Release
SS SS
the United States Probation Office.

ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a revocation of your
release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in imprisonment, a fine, or both.

While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years and for a
federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be consecutive (i.e., in addition
to) to any other sentence you receive.

It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to obstruct a criminal investigation; tamper with a witness,
victim, or informant; retaliate against a witness, victim, or informant: or intimidate or attempt to intimidate a witness, victim, juror, informant, or officer
of the court. The penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted killing.

If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence, you may be prosecuted
for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more — you will be fined not more than
$250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years — you will be fined not more than
$250,000 or imprisoned for not more than five years, or both;

(3) any other felony — you will be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor — you will be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In addition, a
failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgement of the Defendant

I] acknowledge that | am the defendant in this case and that I am aware of the-eonctitions of release. I promise to obey all
conditions of release, to appear as directed, andSurrender to serve any sentence ‘ aware of the penalties and sanctions set
forth above.

    

 

UY" Defendants Signature ~~

Ooltewah, TN

City and State

Directions to the United States Marshal
(X) The defendant is ORDERED released after processing.
() The United States Marshal is ORDERED to keep the defendant in custody until notified by the Clerk or judge that the defendant
has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before the
appropriate judge at the time and place specified.

 

Date: _December 16, 2022

 

Ifdicial OfCer's Signature

Susan K. Lee, U.S. Magistrate Judge

Printed name and Title

DISTRIBUTION: COURT DEFENDANT PRETRIAL SERVICE — U.S. ATTORNEY U.S. MARSHAL

Case 1:22-mj-00310-SKL Document9 Filed 12/16/22 Page 4of4 PagelD #: ‘Page 4of4
